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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                  NO. 4:07CR00138-01 JLH

SHIRLEY NIMMO                                                                       DEFENDANT


                                             ORDER

       The Court conducted a sentencing hearing on this date for defendant Shirley Nimmo.

Following the imposition of sentence, the Court directed defendant be released from custody of the

United States Marshal, and be allowed to self-report to the designated Bureau of Prisons facility by

2:00 p.m. on Monday, August 4, 2008. The conditions of bond set by the magistrate on May 15,

2007, are hereby reimposed.

       IT IS SO ORDERED this 26th day of June, 2008.




                                                     ___________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
